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                            UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA                         CLERK, U.S. DISTRICT COURT
                                                                                          RICHMOND. VA
                                       Richmond Division



Linda King and Terri Reekes, on behalf of
themselves and others similarly situated

                                      Plaintiffs,

V.                                                            CIVIL ACTION NO.               \5c-v/Oo3 VT

Transamerica Premier Life Insurance Company,
and Monumental Life Insurance Company

                                      Defendants.




                                          COMPLAINT


        Plaintiffs Linda King ("King") and Terri Reekes ("Reekes," collectively "Plaintiffs")

respectfully move for judgment against Transamerica Premier Life Insurance Company

("Transamerica") and Monumental Life Insurance Company ("Monumental"), (collectively

"Defendant"), on behalf of themselves and all others similarly situated:

                                           Introduction


        1.     This is a claim for unpaid overtime in violation of the Fair Labor Standards Act of

1938, as amended, 29 U.S.C. § 201, et seq., (hereinafter "the Act" or "FLSA"). Plaintiffs seek

unpaid overtime, liquidateddamages, and attorneys' fees and costs arising out of the Defendant's

FLSA violations for themselves and others similarly situated.

                                     Jurisdiction and Venue

        2.     This Court has jurisdiction pursuant to 29 U.S.C. § 216(b) and (c) in that the

Plaintiffs may bring this action in any appropriate United States District Court.

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        3.     Venue is proper for this Court pursuant to 28 U.S.C. § 1391 and Local Rule

3(B)(4) since the acts and omissions giving rise to this lawsuit havetaken place in the Eastern

District of Virginia.

        4.      Defendant is subject to personal jurisdiction in the Commonwealth of Virginia.

                                             Parties


        5.      Linda King is a resident of Virginia who was formerly employed by Defendant as

an Agency Coordinator. King was an "employee" as defined in the FLSA.

        6.      Terri Reekes is a resident of Virginia who was formerly employed by Defendant

as an Agency Coordinator. Reekes was an "employee" as defined in the FLSA.

        7.      Transamerica is a corporationthat does business among other places, in

Chesterfield, Virginia. Transamerica meets the definition of "employer" as defined in the FLSA.

        8.      Upon information and belief. Monumental is the former name of Transamerica

which was used prior 2014.

        9.      Monumental was a corporation that did business in, among other places.

Chesterfield, Virginia. Monumental meets the definitionof "employer" as defined in the FLSA.

        10.     Uponinformation and belief, Transamerica and Monumental use the same federal

tax employerID number and Virginia State Corporation Commission ID number.

        11.     Upon information and belief, Transamerica and Monumental are the same

employer for all-relevant purposes of this lawsuit.

        12.     Transamerica and Monumental arejointly and severally liable.

                                       Factual Allegations

        13.     Linda King was originally hired by one of Transamerica's predecessorcompanies
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in 1989. King's employment with Transamerica ended in April 2014.

       14.     Reekes worked for Defendant for approximately 34 years until her retirement in

or around Novmber 2014. Reekes worked in the Petersburg, Richmond, and/or South Hill

offices of Transamerica or its predecessor companies.

       15.     At all times relevant, Plaintiffs regularly worked more than 40 hours per week.

       16.     Reekes regularly worked beyond her normal schedule of 9:00 to 5:30. Other

Transamerica employees were aware that Reekes regularly worked past 5:30 pm.

       17.     During the relevant time period. King worked out of Transamerica's Richmond

office. King's regularly scheduled hours were 8:30 to 5:30. King often worked longer hours

than her regular schedule. Other Transamerica employees witnessed King work hours beyond

her regular schedule.

       18.     Plaintiffs were not paid for hours worked over 40 per week.

       19.     Plaintiffs' duties were secretarial and clerical in nature, and included: answering

phones, transferring calls, making phone calls, and taking messages; checking emails and

forwarding them to the appropriate representatives; submitting the daily sales report to home

office; printing reports for managers; checking voicemails; reviewing applications for errors;

faxing paperwork such as applications and claims to home office; setting appointments for sales

agents; recruiting, which included posting pre-written advertisements on job recruitment

websites, attending job fairs, and pulling resumes from job recruitment websites, screening

candidates for minimum job qualifications which were set by management, and calling recruit

candidates to set up interviews with the manager in the district office; ordering supplies;

opening and distributing incoming mail; filing and keeping track of paperwork; customer service
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including changing or updating personal information for clients, taking payments from clients,

and explaining various paperwork to clients; sending letters; and making copies.

        20.    Pursuant to the FLSA, Defendant is obligated to pay Plaintiffs at a time and a half

rate for all overtime hours worked. Defendant failed to do so.


        21.    Defendant did not keep accurate records of Plaintiffs' hours.

        22.    Plaintiffs each generally entered her time at 40 hours per week even though each

typically worked more than 40 hours per week.

        23.    Upon information and belief, Plaintiffs' supervisors were each aware that

Plaintiffs worked beyond their regularly scheduled hours.

        24.    Defendant and its management knew or had constructive knowledge of the fact

that Plaintiffs regularly worked more than 40 hours per week.

        25.    Based on the nature of Plaintiffs' job duties, there is no FLSA exemption that

applies to preclude them from being paid one and one-half times their regular rate of pay for all

hours worked in excess of 40 per week.

        26.    Plaintiffs were paid on an hourly basis.

        27.    Defendant failed to maintain accurate time records of all hours worked by

Plaintiffs.

        28.    Defendant willfully violated the FLSA by knowingly failing to pay its Agency

Coordinator employees overtime. Defendant had knowledge or constructive knowledge that

Plaintiffs worked in excess of 40 hours per week, but failed to pay them overtime compensation.

        29.    Under the FLSA, an employer must compensate employees for all hours suffered

or permitted to work.
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       30.     At all relevant times Defendant intended to deprive Plaintiffs of the overtime pay

they were entitled to under the FLSA, or acted with reckless disregard for Plaintiffs' rights under

the FLSA.


       31.     Upon her separation of employment with Transamerica, King signed a severance

release waiving claims except those "that cannot be waived, released or discharged by private

agreement under applicable federal, state, or local law."

       32.     Any such release by King does not bar this lawsuit under the FLSA because under

federal law, FLSA claims may not be waived, released, or discharged by private agreement

without approval by the Department of Labor or approval by a court. See Brooklvn Savings

Bankv. O^NeilL 342 U.S. 697 (1945).

       33.     Transamerica has neither sought nor obtained Department of Labor approval

relating to any purported release of King's FLSA claims.

       34.     Transamerica has neither sought nor obtained any court approval relating to any

purported release of King's FLSA claims.

       35.     At the time that King signed her severance agreement, there was no bona fide

dispute between her and Transamerica relating to FLSA claims.

       36.     The severance agreement signed by King does not cite the Fair Labor Standards

Act.


                          Representative Action Allegations for FLSA Claims

       37.     Plaintiffs file this statutorily authorized collective action pursuant to 29 U.S.C. §

216(b) as Representative Plaintiffs. Plaintiffs consent to become party Plaintiffs in this

representative FLSA action pursuant to 29 U.S.C. § 216(b), as evidenced by the "Consent to
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Become Party to Collective Action Under 29 U.S.C. § 216," filed by each herewith.

        38.     Defendant employs, and has employed, multiple persons in the same job functions

and/or positions that Plaintiffs occupied.

        39.     These employees perform, and have performed, functions which entitle them to

payment of overtime compensation wages that they have not received.

        40.     Defendant compensated, and upon information and belief continues to

compensate. Plaintiffs and those similarly situated on a uniform compensation basis common to

Plaintiffs and other persons performing similar job functions.

        41.     On information and belief. Defendant's pay, administrative, and supervisory

operations are centrally managed as a single enterprise, and all or most of Defendant's

employees performing functions similar to Plaintiffs are subject to common job duties, time

keeping, and payroll practices.

        42.     The FLSA "collective" or "class" of similarly situated employees is composed of

all present and former employees of Defendant who performed the same or similar job functions

as Plaintiffs and are or were subject to the same pay practices, and have been employed within

three (3) years of the date of filing of this action.

        43.     Plaintiffs assert that Defendant's willful disregard of the overtime laws described

herein entitles Plaintiffs and similarly situated employees to the applicationof the three (3) year

limitations period.

        44.     Plaintiffs' job duties, and the job duties of those similarly situated to Plaintiffs,

are not exempt from the coverage ofthe FLSA.

        45.     At all relevant times, Plaintiffs and other similarly situated employees have been


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entitled to the rights, protections, and benefits provided under the FLSA.

                                     FLSA Relief Requested

       Wherefore, Plaintiffs requests the following Relief against Defendant:

               A.     money damages for all unpaid overtime compensation;

               B.     liquidated damages in an amount equal to all unpaid overtime owed to

                      Plaintiffs;

               C.     pre-judgment and post-judgment interest;

               D.     an order conditionally certifying a group or groups of putative collective

                      action members and approving a notice to be sent to all such members,

                      notifying them of this representational lawsuit and their ability to file a

                      written consent to join in this action without threat or fear of reprisal;

               E.     injunctive relief including but not limited to: an order permanently

                      enjoining Defendant fi:om retaliating against Plaintiffs; and an order

                      permanently enjoining Defendant from prospectively violating the FLSA

                      with respect to Plaintiffs and the Putative Collective Action Members and

                      similarly situated employees;

               F.     reasonable attorneys' fees and costs expended in the prosecution of this

                      case;


               G.     any and all further relief permissible by law.

       Plaintiffs respectfully demand TRIAL BY JURY.
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                                Respectfully submitted,
                                LINDA KING and TERRI REEKES
                                Plaintiffs




                                By:.
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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division


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themselves and others similarly situated

                                    Plaintiff,

V.
                                                             CIVIL ACTION NO.

Transamerica Premier Life Insurance Company,
Monumental Life Insurance Company

                                   Defendants.



                       CONSENT TO BECOME PARTY TO
                    COLLECTIVE AmON UNDER 29 IJ.S.C. 8 216

       I hereby consent to opt-in to become a plaintiff in this representative Fair Labor
Standards Act ("FLSA") action pursuant to 29 U.S.C. §216(b).



                                                  ignature




                                                 Printed Name
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To: Terri Reetos   Page 1 of 1                     2015-08-26 17;S4:59 (GMT)           Curwood Law Firm From: Craig Curwood




                                        UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF VIRGINl A
                                                    Richmond Division



               Liada King and Terri Reekes, on behalf of
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              V.
                                                                            CIVIL ACTION NO.

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              Monumental Life insurance Company

                                                   Defendants.



                                          CONSENT TO BECOME ?ART\' TO
                                    COLLECrn^E ACTION UNDER 29 tJ.S.C. S : 1i;

                       I hereby consetit to opt-u» to become a plaxntifF ii this n preseiitative Fair Labor
              Standai-ds Act ('TLSA") action pursuant to 29 U.S.C. § 216(b).



                                                                Signature




                                                                Printed Name
